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  * Rev. 5/18/2016


                                           ATTACHMENT NO. 3

                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OHIO


                                                  )   CASE NO.
                                                  )
                     Plaintiff,                   )   JUDGE BENITA Y. PEARSON
                                                  )
            v.                                    )   DISCOVERY PLAN
                                                  )
                                                  )   (See Fed. R. Civ. P. 26(f)
                     Defendant.                   )   and LR 16.3(b)(3))


            1.       Pursuant to Fed. R. Civ. P. 26(f) and LR 16.3(b)(3), a meeting was held on
  __________________________, 20___, at ______________________________________ and
  was attended by:
  _______________________________ counsel for plaintiff(s) ___________________________
  _______________________________ counsel for plaintiff(s) ___________________________
  _______________________________ counsel for defendant(s)___________________________
  _______________________________ counsel for defendant(s)___________________________


            2.       The parties recommend the following track:
                     _____ Expedited        _____ Standard        _____ Administrative
                     _____ Complex          _____ Mass Tort


            3.       This case is suitable for one or more of the following Alternative Dispute
  Resolution (“ADR”) mechanisms:
                     _____ Early Neutral Evaluation       _____ Summary Jury Trial
                     _____ Mediation                      _____ Summary Bench Trial
                     _____ Arbitration                    _____ Case is not suitable for ADR
                                                                  at this time


  THIS DISCOVERY PLAN MUST BE FILED 5 CALENDAR DAYS BEFORE THE CMC

                                  Lead counsel and clients must attend CMC
                                   unless explicitly excused. This applies to
                                          telephonically held CMC’s.
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         4.     The parties _____do/_____do not consent to the jurisdiction of the United States
  Magistrate Judge pursuant to 28 U.S.C. § 636(c).


         5.     Initial Disclosures: (check one)
                _______ a) Plaintiff made initial disclosures on __________________________
         and all other parties made initial disclosures on _________________________________.
                Objections to initial disclosures under Fed. R. Civ. P. 26(a)(1) ___are/___ are not
         made. If there are objections, they are specified along with the identity of the objecting
         party in an appendix to this Discovery Plan. The objecting party requests that the Court
         rule with respect to these disclosures at the Case Management Conference.


                _______ b) Initial Discovery Protocols were entered in this case:
                        i) The plaintiff’s Initial Discovery was provided on _______________.
                        ii) The defendant’s Initial Discovery was provided on _______________.


                _______ c)     This is an ERISA case and does not require initial disclosures. See
         ¶ 6 for suggested briefing schedule.


         6.     Subsequent proceedings (for ERISA cases):
                a)      Defendant shall file the entire administrative record by _______________.
                b)      Plaintiff shall file the opening brief contemplated by Wilkins v. Baptist
         Healthcare System, Inc., 150 F.3d 609, 619 (6th Cir. 1998) (Gilman, J., concurring) by
         _____________________________________________________________________.
                c)      Defendant shall respond by _____________________________________.
                d)      Plaintiff shall reply by _________________________________________.
                e)      There shall be no discovery in this case except as set forth in Wilkins.




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        7.     Subsequent proceedings (for non-ERISA cases):
               a)      Recommended Discovery Plan: Describe the subjects on which discovery
        is to be sought and the nature and extent of discovery, including any limitation on the
        number of interrogatories, the number and/or length of depositions, and/or the number of
        requests for admission.
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________


               b)      The parties (indicate one):
                       _____ agree that there will be no discovery of electronically-stored
                       information; or
                       _____ have agreed to a method for conducting discovery of electronically-
                       stored information; or
                       _____ have agreed to follow the default standard for discovery of
                       electronically-stored information (Appendix K to N.D. Ohio Local Rules).


               c)      The parties ____ have/____have not reached an agreement regarding the
        handling of disclosed privileged material. See Fed. R. Civ. P. 16(b)(3)(B)(iv). If the
        parties have reached an agreement for asserting claims of privilege or of protection as
        trial-preparation material after information is produced, please provide the agreement,
        including agreements reached under Fed. R. Evid. 502.
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________


               d)      Discovery cut-off date: ________________________________________.


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              e)     Recommended dispositive motion date: ___________________________.
              f)     Recommended cut-off for amending the pleadings and/or adding
              additional parties: __________________________________________________.
              g)     Recommended date for a Status Conference: _______________________.


        8.    Other matters for the attention of the Court:
        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________



                                            __________________________________________

                                            Attorney for Plaintiff(s) ______________________

                                            __________________________________________

                                            Attorney for Plaintiff(s) ______________________

                                            __________________________________________

                                            Attorney for Defendant(s) ____________________

                                            __________________________________________

                                            Attorney for Defendant(s) ____________________



                   Objections, if any, to initial disclosures are appended.




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